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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY


   Caption in Compliance with D.N.J. LBR 9004-1(B)

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   In Re:                                                     Case No.:      22-14771-VFP

   Produce Depot USA LLC,                                     Judge:        Vincent F. Papalia
                                  Debtor
                                                              Chapter:       11

       NOTICE OF THE EFFECTIVE DATE OF DEBTOR’S CHAPTER 11 PLAN

        PLEASE TAKE NOTICE that on July 10, 2023, United States Bankruptcy Court for the
 District of New Jersey entered an Order confirming Chapter 11 Plan (the “Confirmation Order”)
 for the Reorganized Debtor, Produce Depot USA LLC (the “Debtor”) (ECF No.: 199).
        PLEASE TAKE FURTHER NOTICE that each of the conditions precedent to the
 effectiveness of the Plan has occurred or was waived in accordance with Chapter 11 Plan (the
 “Plan”) and the Plan became effective and Payments under the Plan have commenced before
 August 2, 2023 (the “Effective Date”).
        PLEASE TAKE FURTHER NOTICE that all applications for compensation for services
 rendered and reimbursement of expenses incurred by Professionals from March 2, 2022 (the
 “Petition Date”) through the Effective Date shall be filed no later than forty-five (45) days after
 the Effective Date.



 Dated: Brooklyn, New York
         August 8, 2023                                  /s/ Alla Kachan
                                                         By: Alla Kachan, Esq.
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